Case 2:21-cv-00450-MWF-JC Document 1 Filed 01/15/21 Page 1 of 5 Page ID #:1




 1 Jamie Rudman (SBN 166727)
    rudman@sanchez-amador.com
 2 Jasmine S. Horton (SBN 272297)
    horton@sanchez-amador.com
 3 SANCHEZ & AMADOR, LLP th
   800 S. Figueroa Street, 11 Floor
 4 Los Angeles, California 90017
   (213) 955-7200 Tel
 5 (213) 955-7201 Fax
 6 Attorneys for JPMorgan Chase Bank,
   N.A., erroneously sued as J.P. Morgan
 7 Chase National Corporate Services, Inc.
 8
                                     UNITED STATES DISTRICT COURT
 9
                     CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
10
11
     HIRUT DEMOZE, an individual;                  Case No.
12
                        Plaintiff,                 DEFENDANT JPMORGAN CHASE
13                                                 BANK, N.A.’S NOTICE OF
                v.                                 REMOVAL OF CIVIL ACTION
14                                                 (DIVERSITY)
   J.P. MORGAN CHASE NATIONAL
15 CORPORATE SERVICES, INC., a
   corporate entity form unknown; and
16 DOES 1-50, inclusive,
17                      Defendants.                [Los Angeles Superior Court Case No.
                                                   20STCV37764]
18
19 TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
20 CENTRAL DISTRICT OF CALIFORNIA, AND TO PLAINTIFF HIRUT
21 DEMOZE AND HER COUNSEL OF RECORD:
22              Pursuant to 28 U.S.C. §§ 1332, 1367, and 1441, Defendant JPMorgan Chase
23 Bank, N.A., erroneously named as “J.P. Morgan Chase National Corporate
24 Services, Inc.,” a corporate entity form unknown (hereinafter referred to as “Chase”)
25 hereby removes the above-captioned action from the Superior Court of California,
26 County of Los Angeles, to the United States District Court, Central District of
27 California, Western Division. The ground for removal is complete diversity of
28 citizenship, as fully stated below.
     348025.1
     DEFENDANT JPMORGAN CHASE BANK, N.A.’S NOTICE OF REMOVAL OF CIVIL ACTION (DIVERSITY)
Case 2:21-cv-00450-MWF-JC Document 1 Filed 01/15/21 Page 2 of 5 Page ID #:2




 1                              PROCEDURAL BACKGROUND
 2              1.   On or about October 1, 2020, Plaintiff Hirut Demoze filed an action in
 3 the Superior Court of California, County of Los Angeles, Case No. 20STCV37764,
 4 entitled HIRUT DEMOZE, an individual; Plaintiff, v. J.P. MORGAN CHASE
 5 NATIONAL CORPORATE SERVICES, INC, a corporate entity form unknown; and
 6 DOES 1-50, inclusive, Defendants (the “State Court Action”).
 7              2.   Plaintiff asserts eight causes of action in the State Court Action against
 8 Chase, her former employer, for: (1) Disability Discrimination in Violation of Gov.
 9 Code § 12940 et seq.; (2) Race and National Origin Discrimination in Violation of
10 Gov. Code § 12940 et seq.; (3) Failure to Accommodate in Violation of Gov. Code
11 § 12940(m); (4) Failure to Engage in Interactive Process in Violation of Gov. Code
12 § 12940(n); (5) Failure to Prevent Discrimination in Violation of Gov. Code §
13 12940(k); (6) Retaliation in Violation of Gov. Code § 12940(h); (7) Wrongful
14 Termination; and, (8) Violation of Business and Professions Code § 17200 et seq.
15              3.   On October 8, 2020, the court filed a notice of Case Management
16 Conference and an Order to Show Cause for Failure to File Proof of Service. A true
17 and correct copy of the notice and Order are attached hereto as Exhibit 1.
18                                TIMELINESS OF REMOVAL
19              4.   On December 17, 2020, Plaintiff served CT Corporation System,
20 Chase’s agent for service of process, with the Summons, Complaint, and related
21 case documents. True and correct copies of the Summons, Complaint and related
22 documents served upon Chase through CT Corporation System are attached hereto
23 as Exhibit 2.
24              5.   On December 18, 2020, Plaintiff filed a Proof of Service of Summons,
25 a true and copy of which is attached hereto as Exhibit 3.
26              6.   On December 18, 2020, Plaintiff filed a Case Management Statement, a
27 true and correct copy of which is attached hereto as Exhibit 4.
28              7.   On January 8, 2021, the court held a Case Management Conference and
     348025.1
                                                   2
     DEFENDANT JPMORGAN CHASE BANK, N.A.’S NOTICE OF REMOVAL OF CIVIL ACTION (DIVERSITY)
Case 2:21-cv-00450-MWF-JC Document 1 Filed 01/15/21 Page 3 of 5 Page ID #:3




 1 Order to Show Cause hearing. The Court’s Minute Order confirms that Plaintiff
 2 filed the Proof of Service on December 18, 2020, and that Chase has until January
 3 18, 2021, to respond to the Complaint. A true and correct copy of the Minute Order
 4 is attached hereto as Exhibit 5.
 5              8.    On January 14, 2021, Chase filed the Answer To Complaint. A true
 6 and correct copy of the Answer is attached hereto as Exhibit 6.
 7              9.    Pursuant to 28 U.S.C. § 1446(a), Exhibits 1 through 6 constitute all the
 8 pleadings that have been filed in this action as of the date of the filing of this Notice
 9 of Removal. No other process, pleadings or papers have been filed in said action
10 and no further proceedings have been had.
11              10.   Defendants “DOES 1-50, inclusive” have not been identified, nor is
12 there any record of their having been served with the Summons or the Complaint in
13 the State Court Action.
14              11.   This removal is timely filed as required by 28 U.S.C. § 1446(b) having
15 been accomplished within 30 days of the date of first service of the State Court
16 Action on Chase, which was December 17, 2020, and within one year of the date the
17 State Court Action was filed on October 1, 2020.
18                                 DIVERSITY JURISDICTION
19              12.   Basis of Original Jurisdiction. Diversity jurisdiction exists where
20 there is diversity of citizenship between the parties at the time the lawsuit is filed.
21 See, Grupo Dataflux v. Atlas Global Group, 541 U.S. 567, 570 (2004). Chase is
22 entitled to remove the State Court Action on the ground that this Court has original
23 jurisdiction in this action pursuant to 28 U.S.C. § 1332 and it is an action which may
24 be removed to this Court by Chase pursuant to the provisions of 28 U.S.C. §
25 1441(b), because: (1) it is a civil action between citizens of different states, as
26 Plaintiff is a citizen of California, and Chase is a citizen of Ohio; and (2) it involves
27 an amount in controversy that exceeds the sum of $75,000, exclusive of interest and
28 costs.
     348025.1
                                                   3
     DEFENDANT JPMORGAN CHASE BANK, N.A.’S NOTICE OF REMOVAL OF CIVIL ACTION (DIVERSITY)
Case 2:21-cv-00450-MWF-JC Document 1 Filed 01/15/21 Page 4 of 5 Page ID #:4




 1              13.   Plaintiff’s Citizenship. Plaintiff is a citizen and resident of the State
 2 of California.
 3              14.   Defendant Chase’s Citizenship. Chase’s Articles of Association
 4 (Exhibit 7) state that Ohio is the locus of its main office. Pursuant to 28 U.S.C. §§
 5 1332 and 1348, and the United States Supreme Court’s decision in Wachovia Bank
 6 N.A. v. Schmidt, 546 U.S. 303 (2006), Chase is “located” in Ohio, the state
 7 designated in its Articles of Association as the locus of its main office. See also,
 8 Ellis v. J.P. Morgan Chase & Co., 950 F. Supp. 2d 1062, 1068 n.1 (N.D. Cal. 2013)
 9 (noting that JPMorgan Chase Bank, N.A. is organized as a national association
10 under the National Bank Act, with its principal place of business in Ohio); Excelsior
11 Funds, Inc. v. JP Morgan Chase Bank, N.A., 470 F. Supp. 2d 312, 317 (S.D.N.Y.
12 2006) (denying motion to remand removed action since JPMorgan Chase Bank,
13 N.A. is located in Ohio for diversity jurisdiction purposes.)
14              15.   Doe Defendants Are Disregarded For Purposes of Removal.
15 Pursuant to 28 U.S.C. Section 1441(a), the residence of fictitious and unknown
16 defendants should be disregarded for purposes of establishing removal jurisdiction
17 under 28 U.S.C. Section 1332. Fristos v. Reynolds Metals Co., 615 F.2d 1209, 1213
18 (9th Cir. 1980). Thus, the existence of Doe defendants 1 to 50, inclusive, does not
19 deprive this Court of jurisdiction.
20              16.   Amount in Controversy. In determining diversity jurisdiction, “the
21 sum demanded in good faith in the initial pleading shall be deemed to be the amount
22 in controversy.” 28 USC § 1446(c)(2). Here, Plaintiff’s Prayer for Relief states that
23 she demands: “(f)or all actual, consequential, and incidental damages, including but
24 not limited to loss of earnings and employee benefits, according to proof, but no less
25 than three hundred thousand dollars.” Compl. ¶ 25, 42, 56, 71 and Prayer
26 (emphasis added.). Although Chase does not concede that it is liable to Plaintiff for
27 this or any amount, Plaintiff’s Prayer for Relief establishes that the amount in
28 controversy exceeds the $75,000 jurisdictional minimum.
     348025.1
                                                    4
     DEFENDANT JPMORGAN CHASE BANK, N.A.’S NOTICE OF REMOVAL OF CIVIL ACTION (DIVERSITY)
Case 2:21-cv-00450-MWF-JC Document 1 Filed 01/15/21 Page 5 of 5 Page ID #:5




 1              17.   Venue. Venue is proper in the Central District of California because
 2 this district embraces the Los Angeles County Superior Court, the court in which
 3 this action is currently pending. 28 U.S.C. §1441(a); Polizzi v. Cowles Magazines,
 4 Inc., 345 U.S. 663, 666 (1953) (holding the venue of a removed action is governed
 5 by 28 U.S.C. §1441(a) and is properly laid in the district embracing the place where
 6 the action is pending.) Plaintiff, likewise, pleads in her Complaint that Los Angeles
 7 County, California is the appropriate venue for this action. Compl. ¶ 9.
 8              18.   Conclusion. Complete diversity of citizenship exists inasmuch as
 9 Plaintiff is a citizen of California and Chase is a citizen of Ohio. Furthermore, the
10 amount in controversy exceeds $75,000. Accordingly, this Court has diversity
11 jurisdiction of this matter pursuant to 28 U.S.C. §§1332, 1441, and 1446, and Chase
12 has properly removed the State Court Action to this Court.
13              19.   This Notice of Removal will be promptly served on Plaintiff and filed
14 with the Clerk of the Superior Court of the State of California in and for the County
15 of Los Angeles.
16              20.   In compliance with 28 U.S.C. § 1446(a), true and correct copies of all
17 “process, pleadings, and orders” from the state court action served on Chase or filed
18 by Chase are attached hereto as Exhibits 1 through 6.
19              21.   WHEREFORE, Chase prays that the State Court Action be removed
20 from the Superior Court of California, County of Los Angeles, to this Court.
21 DATED: January 15, 2021                         SANCHEZ & AMADOR, LLP
22
23
24
                                                   Jamie Rudman
25                                                 Jasmine S. Horton
26                                                 Attorneys for JPMorgan Chase Bank,
                                                   N.A., erroneously sued as J.P. Morgan
27                                                 Chase National Corporate Services, Inc.
28
     348025.1
                                                   5
     DEFENDANT JPMORGAN CHASE BANK, N.A.’S NOTICE OF REMOVAL OF CIVIL ACTION (DIVERSITY)
